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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

Jinmei Zhang,                                    )
       Plaintiff,                                )
       v.                                        )            Case No. 18-CV-3283
                                                 )
United States, et al.                            )            Hon. Judge Rebecca R. Pallmeyer
                                                 )            JURY DEMANDED
        Defendants.                              )

                MOTION TO WITHDRAW AS COUNSEL FOR PLAINTIFF

NOW COME attorneys Mary J. Grieb, Brendan Shiller, and Abby D. Bakos of the Shiller Preyar

Law Offices, with the instant motion to withdraw as counsel for Plaintiff.

                                           Introduction

    1. Undersigned counsel and Plaintiff have opposite opinions as to how best to proceed with

        this litigation. Despite several attempts to reach an agreement, counsel and the plaintiff are

        unable to agree. Accordingly, attorneys Mary Grieb, Brendan Shiller, and Abby Bakos seek

        leave to withdraw their appearances on behalf of Plaintiff, and ask this Court to allow

        Plaintiff a reasonable amount of time to secure new counsel.

    2. Arising out of her arrest on May 12, 2016, Plaintiff brings claims pursuant to Bivens and

        42 U.S.C. Section 1983 alleging deprivations of her constitutional and state law rights

        against Defendants Mazza and Bretz and the Village of Batavia and Defendant Homeland

        Security Investigations agent Michael Schuster. Plaintiff alleges that Defendant Schuster

        violated her bodily integrity and unreasonably seized her and that Schuster, Mazza and

        Bretza falsely arrested and maliciously prosecuted her on false prostitution charges.

    3. Ms. Zhang prosecuted the case pro se, first in the Circuit Court of Cook County, and then

        in the Northern District of Illinois, until August 10, 2018, when she retained the

        undersigned attorneys.
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4. Attorneys Mary Grieb, Brendan Shiller, and Abby Bakos appeared on Ms. Zhang’s behalf.

   Dkts. 19-21.

5. Over the past two months, the undersigned attorney Grieb and Plaintiff Zhang have had

   several lengthy, in-person conversations regarding the legal issues in this case, materials

   received in discovery, and the course of this litigation.

6. Unfortunately, the undersigned attorneys and Plaintiff Zhang fundamentally disagree about

   how best to proceed in this litigation; despite several attempts to reach a consensus,

   Plaintiff and her counsel now wish to end the attorney-client relationship.

7. The Rules of Professional Conduct permit an attorney to withdraw from representation

   when “the client insists upon taking action … with which the lawyer has a fundamental

   disagreement” or “the representation …has been rendered unreasonably difficult by the

   client.” Rule 1.16(b)(4); Rule 1.16(b)(6).

8. Here, the undersigned fundamentally disagree with Zhang’s preferred course of action and

   continued representation of Zhang is impossible.

9. Thus, the undersigned attorneys a) request leave to withdraw as counsel of record in the

   instant case; b) request that Zhang be given ample time to secure new counsel, and c) that

   the current deadlines (for responding to the US Defendants’ partial motion to dismiss (Dkt.

   54), currently due April 8, 2019, and for responding to the Batavia Defendants’ written

   discovery requests) be extended.

10. Further, given that Zhang only speaks and writes Mandarin, withdrawing counsel suggests

   granting Plaintiff 45 days to secure new counsel.

11. Per the local rule, Notification of Party Contact Information is being filed as Exhibit A to

   this motion.



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   12. Additionally, a copy of the motion and notice of motion are being served on Plaintiff via

       email and U.S. mail with a letter admonishing Plaintiff that she must appear in court herself

       or with a substitute attorney at the hearing on the instant motion.

   13. Finally, the undersigned will provide Zhang with a copy of her entire file, including all

       documents produced in discovery by all parties, all documents provided by Zhang, and all

       pleadings in the underlying case.

WHEREFORE, attorneys Mary J. Grieb, Brendan Shiller, Abby D. Bakos respectfully request

leave of Court to withdraw as attorneys of record for Plaintiff Jinmei Zhang, that Zhang be given

45 days to secure new counsel, that the current deadlines be stayed or extended, and for any other

and additional relief that this Court deems equitable and just.

Respectfully Submitted,

s/ Mary J. Grieb
Mary J. Grieb

s/Brendan Shiller
Brendan Shiller

s/Abby D. Bakos
Abby D. Bakos

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                                CERTIFICATE OF SERVICE


       I, Mary J. Grieb, hereby certify that a copy of the foregoing was filed electronically using

the Court’s CM/ECF system to the attorneys of record and via email and U.S. Mail to Jinmei

Zhang at the address below on March 29, 2019.

                   Jinmei Zhang
                   263 W. 23rd Street
                   Chicago, IL 60616
                   z_jc598@163.com


Respectfully submitted,

s/ Mary J. Grieb
Mary J. Grieb
Attorney for Plaintiff
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